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                                                                                         U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                                                  FILED
                       IN THE UNITED STATES DISTRICT COURT                                    Jul 13 - 2023
                     FOR THE NORTHERN DISTRICT OF NEW YORK
                                                                                              John M. Domurad, Clerk
 UNITED STATES OF AMERICA                          )   Criminal No.     1:23-CR- 280GTS
                                                   )
                v.                                 )   Indictment
                                                   )
 TODD WARD a/k/a "FATS,"                           )   Violations:    18 u.s.c. §§ 1349, 1341
 CHRISTOPHER WARD a/k/a "REEK,"                    )                  [Conspiracy to Commit Mail
 ROCCO RESCINITI a/k/a "ROCK,"                     )                  Fraud]
 and                                               )
                                                   )                  18 U.S.C. § 1341
                Defendants.                        )                  [Mail Fraud]
                                                   )
                                                   )   8 Counts
                                                   )
                                                   )   Counties of Offenses:   Albany & Rensselaer


                               THE GRAND JURY CHARGES:

                                           Background

       At all times relevant to this indictment:

       1.       The New York State Department of Labor ("NYSDOL"), based in Albany County,

New York, was an agency of the State of New York responsible for administering unemployment

insurance claims and distributing benefits to eligible New Yorkers.

       2.       NYSDOL payments to beneficiaries included unemployment insurance benefits

paid in accordance with federal government programs created in response to the ongoing COVID-

19 pandemic. Certain federal unemployment insurance programs allowed individuals who would

not normally qualify for unemployment insurance benefits to receive payments. Federal

unemployment insurance programs also provided for supplemental weekly payments ranging from

$300 to $600.

       3.       New Yorkers who qualified for unemployment insurance benefits could apply

through an online NYSDOL system housed on computer systems located in Albany County, New
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York. Applicants completed an online application and then re-certified their eligibility for benefits

on a weekly basis. Applicants entered certain means of identification in the online system,

including names, dates of birth, Social Security numbers, and state identification card numbers.

Applicants were also required to provide sufficient information to confirm their eligibility for

unemployment insurance benefits, such as their work history and whether they were available to

work immediately.

       4.       If applicants provided their means of identification and eligibility information over

the phone, a NYSDOL employee entered the information into the NYSDOL system using

employee-specific system access credentials. These credentials also provided NYSDOL

employees with the ability to enter claims certifications and weekly re-certifications into the

NYSDOL system and to release payments on unemployment insurance claims.

       5.       NYSDOL gave applicants two options to receive unemployment insurance benefits

as part of the online application process. First, applicants could choose to receive their benefits by

direct deposit into an existing bank account. Under this option, NYSDOL deposited benefits via

Automated Clearing House transfer into a bank account identified by the applicant on his or her

application. Second, applicants could choose to receive their benefits via a debit card issued by

KeyBank, N.A. ("KeyBank"), a bank headquartered in Ohio. Under this option, NYSDOL sent

the mailing address and other information provided by the applicant to KeyBank. KeyBank

generated a debit card for the applicant and sent it via the United States Postal Service to the

mailing address provided by the applicant. Unemployment insurance benefits were deposited into

an account linked to the debit card, which could be used to withdraw cash or make online payments

and point-of-sale purchases.




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       6.       Carl J. DiVeglia III ("DeVeglia") was an employee ofNYSDOL who worked from

a state government office and his residence, both of which were in Albany County, New York.

                                          COUNTl
                              [Conspiracy to Commit Mail Fraud]

                                         The Conspiracy

       7.       The allegations set out in paragraphs 1 through 6 of this indictment are hereby re-

alleged and incorporated by reference as if set forth herein.

       8.       From in or around November 2020, through in or around September 2021, in

Albany and Rensselaer Counties in the Northern District ofNew York, and elsewhere, defendants

TODD WARD a/k/a "FATS," CHRISTOPHER WARD a/k/a "REEK," ROCCO

RESCINITI a/k/a "ROCK," and                                conspired with others, including Carl J.

DiVeglia III, to commit mail fraud by devising and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false and fraudulent pretenses,

representations, and promises, and for the purpose of executing such scheme and artifice, and

attempting to do so, knowingly caused to be placed in a post office and authorized depository for

mail matter, any matter and thing to be sent and delivered by the United States Postal Service, and

knowingly caused to be delivered by mail according to the direction thereon any matter and thing,

in violation of Title 18, United States Code, Section 1341.

                                    Object of the Conspiracy

       9.       The object of the conspiracy was to fraudulently obtain unemployment insurance

benefits from NYSDOL by submitting false and fraudulent claims in the names of other people to

NYSDOL and then approving and releasing payments on the false claims.

                                       Manner and Means

       It was a manner and means of the conspiracy that:


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       10.       TODD WARD a/k/a "FATS" ("T. WARD''), CHRISTOPHER WARD a/k/a

"REEK" ("C. WARD"), ROCCO RESCINITI a/k/a "ROCK" ("RESCINITI") and

                                    recruited other people to provide their means of identification

for use in submitting false and fraudulent unemployment insurance claims and then sent the means

of identification to DiVeglia. T. WARD, C. WARD, RESCINITI, and                    collectively sent

DiVeglia the means of identification of at least 13 different people, including:

 Approximate Date Sender                Means of Identification
 Sent
                                  Name, date of birth, Social Security number, and state
 July 29, 2021          T. WARD
                                  identification card number of D.S.-1
                                  Name, date of birth, Social Security number, and state
 July 29, 2021          T.WARD
                                  identification card number of D.S.-2
                                  Name, date of birth, and Social Security number of J.N.-
 July 29, 2021          T.WARD
                                  A.
                                  Name, date of birth, Social Security number, and state
 July 30, 2021          C. WARD
                                  identification card number of R.P.
                                  Name, date of birth, Social Security number, and state
 July 29, 2021          RESCINITI
                                  identification card number of D.R.
                                  Name, date of birth, Social Security number, and state
 July 29, 2021          RESCINITI
                                  identification card number ofT.G.
                                  Name, date of birth, Social Security number, and state
 August 6, 2021
                                  identification card number ofL.C.

       11.       False and fraudulent applications for unemployment insurance benefits were

submitted to NYSDOL using the means of identification of the people recruited by T. WARD, C.

WARD, RESCINITI, and                   which DeVeglia then approved. As the defendants knew,

the applications contained misrepresentations about the applicants' eligibility for unemployment

insurance benefits, including their occupations and the dates they became unemployed due to the

COVID-19 pandemic. The false and fraudulent applications approved by DiVeglia included:

                                                         A   licant's Initials
                        29,2021                         D.S.-1
                        29,2021                         D.S.-2
                        29,2021                         J.N.-A.
                        30,2021                         R.P.

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                   July 29, 2021                          D.R.
                   July 29, 2021                          T.G.
                   August 6, 2021                         L.C.

       12.     NYSDOL paid unemployment insurance benefits for these false and fraudulent

claims via NYSDOL-branded KeyBank debit cards mailed through the United States Postal

Service to addresses in the Northern District of New York specified in the false and fraudulent

unemployment insurance applications. These mailings included debit cards in the names of D.S.-

1, D.S.-2, J.N.-A., R.P., D.R., T.G., and L.C. sent between in or around August 2021 and

September 2021.

       13.     NYSDOL paid tens of thousands of dollars on the false and fraudulent

unemployment insurance claims.

       All in violation of Title 18, United States Code, Section 1349.

                                    COUNTS2THROUGH8
                                           [Mail Fraud]

       14.     The allegations set out in paragraphs 1 through 13 of this indictment are hereby re-

alleged and incorporated by reference as if set forth herein.

       15.     From in or around November 2020, through in or around September 2021, in

Albany and Rensselaer Counties in the Northern District of New York, and elsewhere, the

defendants listed as to each count below devised and intended to devise a scheme and artifice to

defraud NYSDOL, and to obtain money and property from NYSDOL by means of materially false

and fraudulent pretenses, representations, and promises.

       16.     For the purpose of executing such scheme and artifice to defraud and to obtain

money and property by means of materially false and fraudulent pretenses, representations, and

promises, the defendants as to each count below, on or about the following dates, knowingly

caused to be delivered by the United States Postal Service according to the directions thereon, the


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following matters and things to addresses in the Northern District of New York, including Albany,

Troy, Watervliet, and Wynantskill, New York:

                                    Approximate Date          Description of the            Carrier
Count            Defendant
                                       ofMailin2             Matters and Thin2s
                                                          NYSDOL Debit Card              United States
             TODD WARD
  2                                August 2, 2021         issued by KeyBank in the       Postal
             a/k/a "FATS"
                                                          Name ofD.S.-1                  Service
                                                          NYSDOL Debit Card              United States
             TODD WARD
  3                                August 2, 2021         issued by Key Bank in the      Postal
             a/k/a "FATS"
                                                          Name ofD.S.-2                  Service
                                                          NYSDOL Debit Card              United States
             TODD WARD
  4                                August 2, 2021         issued by KeyBank in the       Postal
             a/k/a "FATS"
                                                          Name of J.N.-A.                Service
             CHRISTOPHER                                  NYSDOL Debit Card              United States
  5          WARDa/k/a             August 5, 2021         issued by KeyBank in the       Postal
             "REEK"                                       Name ofR.P.                    Service
             ROCCO                                        NYSDOL Debit Card              United States
  6          RESCINITI a/k/a       August 16, 2021        issued by KeyBank in the       Postal
             "ROCK"                                       NameofD.R.                     Service
             ROCCO                                        NYSDOL Debit Card              United States
  7          RESCINITI a/k/a       September 21, 2021     issued by KeyBank in the       Postal
             "ROCK"                                       NameofT.G.                     Service
                                                          NYSDOL Debit Card              United States
  8                                August 13, 2021        issued by KeyBank in the       Postal
                                                          NameofL.C.                     Service

        In violation of Title 18, United States Code, Section 1341.

                                 FORFEITURE ALLEGATION

        1.       The allegations contained in Counts 1 through 8 of this indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,

United States Code, Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c).

        2.       Upon conviction of offenses in violation of Title 18, United States Code, Sections

1341 and 1349, as set forth in Counts 1 through 8 of this indictment, defendants TODD WARD

a/k/a "FATS," CHRISTOPHER WARD a/k/a "REEK," ROCCO RESCINITI a/k/a

"ROCK," and                           shall forfeit to the United States of America, pursuant to Title



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18, United States Code, Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c),

any property, real and personal, which constitutes and is derived from proceeds traceable to the

offenses. The property to be forfeited includes, but is not limited to, the following:

                a. Money judgments as to each defendant equal to the value of the proceeds

                    derived from the offenses.

       3.       If any of the property described above, as a result of any act or omission of TODD

WARD, CHRISTOPHER WARD, RESCINITI, and

                a. cannot be located upon the exercise of due diligence;

                b. has been transferred or sold to, or deposited with, a third party;

                c. has been placed beyond the jurisdiction of the court;

                d. has been substantially diminished in value; or

                e. has been commingled with other property which cannot be divided without

                    difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

             All pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c).

 Dated:     July 13, 2023
                                                      A TRUE BILL,




                                                                 ***Redacted Foreperson Name




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      CARLA B. FREEDMAN
      United States ttorney


By:
      ~~-      Hmmman
      Jos ua R. Rosenthal
      Assistant United States Attorneys
      Bar Roll Nos. 704398 & 700730




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